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1    CENTER FOR DISABILITY ACCESS
     Amanda Seabock, Esq., SBN 289900
2    Prathima Price, Esq., SBN 321378
     Dennis Price, Esq., SBN 279082
3    Mail: 8033 Linda Vista Road, Suite 200
     San Diego, CA 92111
4    (858) 375-7385; (888) 422-5191 fax
     amandas@potterhandy.com
5
     Attorneys for Plaintiff, SCOTT JOHNSON
6
7                               UNITED STATES DISTRICT COURT
8                              NORTHERN DISTRICT OF CALIFORNIA

9    SCOTT JOHNSON                                 )   Case No.: 5:21-cv-02073-EJD
                                                   )
10            Plaintiff,                           )
       v.                                          )   NOTICE OF SETTLEMENT AND
11                                                 )   REQUEST TO VACATE ALL
     SWEETGREEN LA, LLC, a Delaware                )   CURRENTLY SET DATES
12   Limited Liability Company                     )
                                                   )
13            Defendants.                          )
                                                   )
14                                                 )
                                                   )
15                                                 )
                                                   )
16
17           The plaintiff hereby notifies the court that a provisional settlement has been
18   reached in the above-captioned case. The Parties would like to avoid any additional
19   expense while they focus efforts on finalizing the terms of the settlement and reducing it
20   to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
21   currently set dates with the expectation that the settlement will be consummated within
22   the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice
23   as to all parties to be filed.
24
                                        CENTER FOR DISABILITY ACCESS
25
26   Dated: May 13, 2021                By: /s/ Amanda Seabock
27
                                              Amanda Seabock
                                              Attorney for Plaintiff
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     Notice of Settlement             -1-              5:21-cv-02073-EJD
